
Per Curiam.
By the record in this case it appears that the court rendered judgment to the effect that the plaintiff have' and recover of and from the defendants a square grand *109piano, or that she have and recover of and from the defendants the sum of $95, with her costs. To reverse this judgment this appeal is prosecuted.
The provisions of the act under which the appeal is prosecuted provides that appeals to the supreme court from the district, county and superior courts shall be allowed in all cases where the judgment or decree appealed from be final, and shall amount, exclusive of costs, to the sum of one hundred dollars, or relate to a franchise or freehold.
The supreme court was without jurisdiction to entertain the appeal, and under the conclusion reached by this court in the case of the Board of County Commissioners of Pitkin County v. The Aspen Mining &amp; Smelting Company, 1 Colo. Ct. Ap. 125, the appeal must be dismissed.

Dismissed.

